                      Case 1:20-cv-08924-CM Document 761-1 Filed 11/14/22 Page 1 of 7                                   11/14/22, 1:17 PM




      RE: [EXTERNAL] Gray proposed 2nd Amended Pleading
      Ibrahim, Nadine (LAW) <nibrahim@law.nyc.gov>
      Wed 10/19/2022 3:25 PM
      To: Wylie Stecklow <wylie@wylielaw.com>;Siddiqi, Omar (Law) <osiddiqi@law.nyc.gov>;mickeyo@lawyer.com
      <mickeyo@lawyer.com>;Balin, Robert <robertbalin@dwt.com>;Riordan, Shannon (LAW) <sriordan@law.nyc.gov>
      Cc: NYC Law Protest Team <NYCLawProtestTeam@law.nyc.gov>
      Wylie,

      With the below correction, we have no further objections to Gray plaintiffs’ second amended
      complaint. Please be sure to include our whole team on all future communication.

      Sincerely,

      Nadine Ibrahim
      Senior Counsel
      (212) 356-5037
      nibrahim@law.nyc.gov

      From: Wylie Stecklow <wylie@wylielaw.com>
      Sent: Wednesday, October 19, 2022 10:08 AM
      To: Ibrahim, Nadine (LAW) <nibrahim@law.nyc.gov>; Siddiqi, Omar (Law)
      <osiddiqi@law.nyc.gov>; mickeyo@lawyer.com; Balin, Robert <robertbalin@dwt.com>; Riordan,
      Shannon (LAW) <sriordan@law.nyc.gov>
      Subject: Re: [EXTERNAL] Gray proposed 2nd Amended Pleading

      Good morning,

      I am circling back on this. Please let me know if we are good to go.

      Thank you,

      Wylie




      Wylie Stecklow PLLC

      Carnegie Hall Tower

      152 W. 57th Street, 8th FLoor


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      Federal Bar Association
      Sarah T. Hughes Civil Rights Award Honoree (2021)
      Southern District New York Chapter President (2018-
      19)
      National Civil Rights Chair (2016-18)
      Fordham Law School Adjunct Professor (2018-
      present)




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      Qualified Immunity: Is the End Near, NYSBA Journal Article by
      Wylie Stecklow



      From: Wylie Stecklow <wylie@wylielaw.com>
      Sent: Thursday, October 13, 2022 4:42 PM
      To: Ibrahim, Nadine (LAW) <nibrahim@law.nyc.gov>; Siddiqi, Omar (Law)
      <osiddiqi@law.nyc.gov>; mickeyo@lawyer.com <mickeyo@lawyer.com>; Balin, Robert
      <robertbalin@dwt.com>; Riordan, Shannon (LAW) <sriordan@law.nyc.gov>
      Subject: Re: [EXTERNAL] Gray proposed 2nd Amended Pleading



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      Hi Nadine

      Thank you for the email and the explanation about Altieri. We do have an unidentified white
      shirt officer that we believed was Altieri but accept your representation that the records show
      Altieri was not on duty and no present during Adam Gray's arrest. The mistaken identity was
      made based on a helmet number. So while we are in agreement to remove Altieri, we have
      replaced him with a NYPD OFFICER JOHN DOE WHITE SHIRT WITH HELMET BEARING
      SHIELD NO. 15519, We have also included a screen shot of this John Doe in paragraph 20. See
      attached and let us know if we are in agreement on this Proposed 2nd Amended Complaint.

      Speak soon,

      Wylie




      From: Ibrahim, Nadine (LAW) <nibrahim@law.nyc.gov>
      Sent: Friday, October 7, 2022 4:30 PM
      To: Siddiqi, Omar (Law) <osiddiqi@law.nyc.gov>; Wylie Stecklow <wylie@wylielaw.com>;
      mickeyo@lawyer.com <mickeyo@lawyer.com>; Balin, Robert <robertbalin@dwt.com>; Balin,
      Robert <robertbalin@dwt.com>; Riordan, Shannon (LAW) <sriordan@law.nyc.gov>
      Subject: RE: [EXTERNAL] Gray proposed 2nd Amended Pleading

      Wylie,

      We have no objections to your amended complaint, with the exception of Det. Robert Altieri
      remaining a defendant. As previously indicated, he has no personal involvement as was RDO on
      the date of incident. His activity log for May 30, 2020 is attached here for your convenience.

      Sincerely,

      Nadine Ibrahim
      Senior Counsel
      Special Federal Litigation Division
      The City of New York, Law Department
      100 Church Street, 3-187
      New York, NY 10007
      (212) 356-5037
      nibrahim@law.nyc.gov

      From: Siddiqi, Omar (Law) <osiddiqi@law.nyc.gov>
      Sent: Tuesday, October 4, 2022 3:46 PM
      To: wylie <wylie@wylielaw.com>; mickeyo@lawyer.com; Balin, Robert <robertbalin@dwt.com>;
      Ibrahim, Nadine (LAW) <nibrahim@law.nyc.gov>; Balin, Robert <robertbalin@dwt.com>; Riordan,
      Shannon (LAW) <sriordan@law.nyc.gov>
      Subject: RE: [EXTERNAL] Gray proposed 2nd Amended Pleading

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      Dear Wylie

      I’m looping Nadine and Shannon into this conversation as they’ll provide the further information re:
      the amended complaint.

      Thanks

      Omar J. Siddiqi
      Senior Counsel
      Special Federal Litigation Division
      New York City Law Department
      Office of the Corporation Counsel
      100 Church Street, Room 3-312
      New York, New York 10007
      (212) 356-2345
      osiddiqi@law.nyc.gov

      From: Wylie Stecklow <wylie@wylielaw.com>
      Sent: Tuesday, October 4, 2022 3:38 PM
      To: Siddiqi, Omar (Law) <osiddiqi@law.nyc.gov>; mickeyo@lawyer.com; Balin, Robert
      <robertbalin@dwt.com>; Balin, Robert <robertbalin@dwt.com>
      Subject: Re: [EXTERNAL] Gray proposed 2nd Amended Pleading

      Omar

      Please confirm that the City can reply to us by Friday with consent to file our amended
      pleading.

      Thanks,

      Wylie

      From: Wylie Stecklow <wylie@wylielaw.com>
      Sent: Wednesday, September 28, 2022 6:35 PM
      To: Siddiqi, Omar (Law) <osiddiqi@law.nyc.gov>; Bahrenburg, Richard (Law)
      <rbahrenb@law.nyc.gov>; mickeyo@lawyer.com <mickeyo@lawyer.com>; Balin, Robert
      <robertbalin@dwt.com>
      Subject: Re: [EXTERNAL] Gray proposed 2nd Amended Pleading

      Omar

      Thanks for confirming receipt of the proposed 2nd amended pleading. Please also confirm
      that we will have the City response to journalist terms and the NYPD training materials and
      Patrol Guides re Journalist right to record by COB tomorrow.

      Thanks,


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                      Case 1:20-cv-08924-CM Document 761-1 Filed 11/14/22 Page 5 of 7                                   11/14/22, 1:17 PM



      Wylie

      From: Siddiqi, Omar (Law) <osiddiqi@law.nyc.gov>
      Sent: Wednesday, September 28, 2022 6:27 PM
      To: Wylie Stecklow <wylie@wylielaw.com>; Bahrenburg, Richard (Law) <rbahrenb@law.nyc.gov>;
      mickeyo@lawyer.com <mickeyo@lawyer.com>
      Subject: RE: [EXTERNAL] Gray proposed 2nd Amended Pleading

      Hi everyone

      Received

      Thank you

      Omar J. Siddiqi
      Senior Counsel
      Special Federal Litigation Division
      New York City Law Department
      Office of the Corporation Counsel
      100 Church Street, Room 3-312
      New York, New York 10007
      (212) 356-2345
      osiddiqi@law.nyc.gov

      From: Wylie Stecklow <wylie@wylielaw.com>
      Sent: Wednesday, September 28, 2022 6:26 PM
      To: Siddiqi, Omar (Law) <osiddiqi@law.nyc.gov>; Bahrenburg, Richard (Law)
      <rbahrenb@law.nyc.gov>; mickeyo@lawyer.com
      Subject: [EXTERNAL] Gray proposed 2nd Amended Pleading

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      you recognize the sender and know the content is safe. Forward suspect email to phish@oti.nyc.gov as an
      attachment (Click the More button, then forward as attachment).

      Omar

      As promised, please find attached the operative pleading and the proposed 2nd Amended
      pleading. Please review and confirm that the City will consent. Identify the date the City
      would like to use for an answer to be due.

      Thanks,

      Wylie


      From: Wylie Stecklow
      Sent: Wednesday, September 28, 2022 2:17 PM
      To: OSiddiqi@law.nyc.gov <osiddiqi@law.nyc.gov>; rbahrenb@law.nyc.gov

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                      Case 1:20-cv-08924-CM Document 761-1 Filed 11/14/22 Page 6 of 7                                   11/14/22, 1:17 PM



      <rbahrenb@law.nyc.gov>; mickeyo@lawyer.com <mickeyo@lawyer.com>
      Subject: Journalist term responses

      Hey Omar

      I am emailing as a gentle reminder that we expect to receive responses from the City to our
      journalist terms. Even though we thought they would have been provided already, please do
      your best to send it to us by COB tomorrow. Also, we are awaiting the current training and
      PG sections regarding a journalist right to record.

      We should have the proposed amended pleading in the next few hours or latest tomorrow
      with a redline pdf for you to review.

      Wylie




      Wylie Stecklow PLLC

      Carnegie Hall Tower

      152 W. 57th Street, 8th FLoor

      NY NY10019

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      twitter.com/wylielawfirm




      Federal Bar Association
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      Southern District New York Chapter President (2018-19)
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      Fordham Law School Adjunct Professor (2018-present)




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      Stecklow



                                                                  Alumni
                                                                  Spotlight:
                                                                  Wylie
                                                                  Stecklow '90,
                                                                  Civil Rights
                                                                  Attorney and
                                                                  Advocate for
                                                                  Repeal of
                                                                  Qualified
                                                                  Immunity
                                                                  news.law.fordham.edu




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